Case 1:19-cr-00197-MKB Document 20 Filed 10/15/19 Page 1 of 1 PagelD #: 61

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ADMITTED IN NEW YORK. VIRGINIA
AND THE DISTRICT OF COLUMBIA
OF COUNSEL

October 15, 2019

Filed by ECF
The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Anton Bogdanov, 19-CR-197 (MKB)
Dear Judge Brodie:

I write on behalf of Anton Bogdanov in the above-referenced case to consent to an
exclusion of time under the Speedy Trial Act from the date of the last week’s scheduled
conference to October 25, 2019, the rescheduled date.

Respectfully submitted,

/s/
Andrew J. Frisch

cc: All Counsel

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